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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AYMAN SAIED JOUMAA,

                    Plaintiff,

          v.                                        Civil Action No. 17-2780 (TJK)

 STEVEN MNUCHIN, et al.,

                    Defendants.


                NOTICE OF CLASSIFIED AND PRIVILEGED LODGING

       Defendants, through undersigned counsel, hereby provide notice that the Government is

lodging for submission classified and privileged information today, June 5, 2018, in support of

their motion to dismiss or, in the alternative, for summary judgment, ECF No. 10, and in support

of their opposition to Plaintiff’s cross-motion for summary judgment, ECF No. 15. This ex

parte, in camera submission includes classified and privileged portions of the administrative

record in this matter. See 21 U.S.C. § 1903(i) (permitting ex parte, in camera review of

classified information used in designations pursuant to the Foreign Narcotics Kingpin

Designation Act); Executive Order 13,526 (governing national security information). It also

includes declarations from the Office of Foreign Assets Control and Drug Enforcement

Administration regarding the Government’s assertions of the law enforcement privilege. The

submission is being lodged for secure storage and for secure transmission to the Court (upon

request) with the U.S. Department of Justice, Litigation Security Group, Washington, D.C., (202)

514-9016. The Court may contact undersigned counsel, or the Litigation Security Group, to

assist in securing delivery of this submission for review at the Court’s convenience.
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Dated June 5, 2018                  Respectfully submitted,

                                    CHAD A. READLER
                                    Acting Assistant Attorney General

                                    JOHN R. GRIFFITHS
                                    Branch Director

                                    DIANE KELLEHER
                                    Assistant Branch Director

                                    /s/Stuart J. Robinson
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